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MISSISSIPPI LEGISLATURE                              REGULAR SESSION 2019

By: Representatives Read, Mims, Arnold,              To:   Appropriations
Bennett, Bounds, Brown, Clark, Hines,
Holland, Mettetal, Myers, Turner, Watson,
Dixon




                              HOUSE BILL NO. 1652
                             (As Sent to Governor)


 1        AN ACT MAKING AN APPROPRIATION TO THE DEPARTMENT OF HUMAN
 2   SERVICES; AND FOR RELATED PURPOSES, FOR THE FISCAL YEAR 2020.

 3        BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MISSISSIPPI:

 4        SECTION 1.   The following sum, or so much thereof as may be

 5   necessary, is appropriated out of any money in the State General

 6   Fund not otherwise appropriated, to the Department of Human

 7   Services for the fiscal year beginning July 1, 2019, and ending

 8   June 30, 2020                                               180,448,447.00.

 9        SECTION 2.   The following sum, or so much thereof as may be

10   necessary, is appropriated out of any money in any special fund in

11   the State Treasury to the credit of the Department of Human

12   Services which is comprised of special source funds collected by

13   or otherwise available to the department for the support of the

14   various divisions of the department, for the purpose of defraying

15   the expenses of the department for the fiscal year beginning

16   July 1, 2019, and ending June 30, 2020

17                                                         $ 1,414,870,175.00.



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18        SECTION 3.    None of the funds appropriated by this act shall

19   be expended for any purpose that is not actually required or

20   necessary for performing any of the powers or duties of the

21   Department of Human Services that are authorized by the

22   Mississippi Constitution of 1890, state or federal law, or rules

23   or regulations that implement state or federal law.

24        SECTION 4.    Of the funds appropriated under the provisions of

25   Section 1 of this act and authorized for expenditure under the

26   provisions of Section 2 of this act, not more than the amounts set

27   forth below shall be expended; however, notwithstanding any other

28   provision in this act, it is the intent of the Legislature that

29   any amount of funds and positions may be transferred between the

30   Department of Human Services and the Department of Child

31   Protection Services in order to comply with agreements made by the

32   State of Mississippi with the United States District Court in

33   reference to the Olivia Y., et al. lawsuit.

34                        DEPARTMENT OF HUMAN SERVICES

35   FUNDING:

36        General Funds                                             69,899,587.00.

37        Special Funds                                       1,281,048,791.00.

38              Total                                         1,350,948,378.00.

39        With the funds appropriated for this budget, the following

40   positions are authorized:

41     AUTHORIZED POSITIONS:

42        Permanent:       Full Time                     1,741


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43                         Part Time                          1

44        Time-Limited:    Full Time                         474

45                         Part Time                           0

46                    DIVISION OF CHILD PROTECTION SERVICES

47        FUNDING:

48        General Funds                                  $         110,548,860.00

49        Special Funds                                  $         133,821,384.00

50        Total                                          $         244,370,244.00

51        With the funds appropriated for this budget, the following

52   positions are authorized:

53     AUTHORIZED POSITIONS:

54        Permanent:       Full Time                     1,537

55                         Part Time                           0

56        Time-Limited:    Full Time                         417

57                         Part Time                           0

58        None of the funds herein appropriated shall be used in

59   violation of Internal Revenue Service's Publication 15-A relating

60   to the reporting of income paid to contract employees, as

61   interpreted by the Office of the State Auditor.

62        SECTION 5.    It is the intention of the Legislature that the

63   Department of Human Services and Department of Child Protection

64   Services shall maintain complete accounting and personnel records

65   related to the expenditure of all funds appropriated under this

66   act and that such records shall be in the same format and level of

67   detail as maintained for Fiscal Year 2019.         It is further the


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68   intention of the Legislature that the agency's budget request for

69   Fiscal Year 2021 shall be submitted to the Joint Legislative

70   Budget Committee in a format and level of detail comparable to the

71   format and level of detail provided during the Fiscal Year 2020

72   budget request process.

73        SECTION 6.    Of the funds appropriated in Section 2 herein to

74   Department of Human Services, One Million Dollars ($1,000,000.00)

75   shall be transferred to the Department of Health, Child Care

76   Licensure Program from the Child Care Development Fund or other

77   appropriate special fund.                These funds are to be transferred to

78   the Board of Health no later than July 31, 2019.                      The Department

79   of Health shall make a complete accounting to the Department of

80   Human Services detailing the uses of these funds in accordance

81   with federal and state regulations.

82        SECTION 7.    It is the intention of the Legislature that

83   whenever two (2) or more bids are received by this agency for the

84   purchase of commodities or equipment, and whenever all things

85   stated in such received bids are equal with respect to price,

86   quality and service, the Mississippi Industries for the Blind

87   shall be given preference.                 A similar preference shall be given to

88   the Mississippi Industries for the Blind whenever purchases are

89   made without competitive bids.

90        SECTION 8.    The Department of Human Services and the

91   Department of Child Protection Services is authorized to expend

92   available funds on technology or equipment upgrades or


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 93   replacements when it will generate savings through efficiency or

 94   when the savings generated from such upgrades or replacements

 95   exceed expenditures thereof.

 96        SECTION 9.    It is the intention of the Legislature that none

 97   of the funds provided herein shall be used to pay certain

 98   utilities for state furnished housing for any employees.             Such

 99   utilities shall include electricity, natural gas, butane, propane,

100   cable and phone services.     Where actual cost cannot be determined,

101   the agency shall be required to provide meters to be in compliance

102   with legislative intent.     Such state furnished housing shall

103   include single-family and multi-family residences but shall not

104   include any dormitory residences.     Allowances for such utilities

105   shall be prohibited.

106        SECTION 10.   In compliance with the "Mississippi Performance

107   Budget and Strategic Planning Act of 1994," it is the intent of

108   the Legislature that the funds provided herein shall be utilized

109   in the most efficient and effective manner possible to achieve the

110   intended mission of this agency      Based on the funding authorized,

111   this agency shall make every effort to attain the targeted

112   performance measures provided below:

113                                                                          FY2020

114   Performance Measures                                                   Target

115   Support Services

116        Percentage of referred/directed

117             investigative audits conducted                               100.00


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118        Percentage of special investigations

119              conducted                                                     95.00

120        Percentage of referred/obtained fraud

121             investigations conducted timely                              100.00

122        Percentage of Administrative

123              Disqualification Hearings and Fair

124              Hearings conducted timely                                     99.00

125        Percentage of monitoring reviews

126              conducted within acceptable time frames                       98.00

127        Total Amount of Funds Recovered ($)                         3,500,000.00

128   Aging & Adult Services

129        In Home Services - Age 60 + Clients Served                       100,542

130        Community Services - Age 60 + Clients Served                      73,787

131        Congregate Meals - Units Services                                232,791

132        Home Delivered Meals - Units Services                         1,486,361

133        Substantiated Incidences of Abuse of

134              Vulnerable Adults per 1,000 Population                         0.20

135        Home Delivered Meals, percent Reduction

136             of Persons on Waiting list                                      0.00

137   Child Support Enforcement

138        Number of Paternities Established                                 18,000

139        Percent Change - Paternities Established (%)                         0.00

140        Number of Obligations Established                                 22,500

141        Percent Change - Obligations Established (%)                         0.00

142        Total Collections ($)                                    365,000,000.00


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143        Percentage Change in Total Collections                               0.00

144        Absent Parents Located (Individuals)                              60,000

145        Percentage of Child Support Cases

146              Current on Payments (%)                                       30.00

147   Community Services

148        Number of Elderly Served by CSBG & LIHEAP                         19,579

149        Number of Disabled Served CSBG/LIHEAP                             18,000

150        Number of Households Achieving

151              Self-Sufficiency CSBG/LIHEAP                                    882

152        Increase in Rate of Household Attaining

153              Self-Sufficiency (%)                                           2.00

154        Number of Households Stabilized CSBG/LIHEAP                       17,712

155        Percent Increase in the Number of

156             Households Stabilized (%)                                       2.00

157        Number of Households Weatherized                                      516

158   Early Childhood Care & Dev

159        Number of Children Served                                         28,000

160   Assistance Payments

161        Dollar Amount of Assistance ($)                              690,000.00

162   Food Assistance

163        Average monthly households                                       225,000

164        Supplement Nutrition Assistance Program

165             - SNAP ($)                                             716,413,100

166        Percentage of Mississippi Households

167             Receiving SNAP Benefits (%)                                    22.51


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168   Tanf Work Program

169        Average Monthly number of TANF Households                           4,600

170        Average Monthly number of persons served

171             in TANF Work Program                                           1,107

172        TANF Work Program Participation rate                                60.00

173        Persons Employed through the TANF Work

174             Program for the year                                             720

175        Number of Households Receiving TANF

176             Benefits During the Year                                       4,600

177        Percentage of Households Receiving TANF

178             During the Year (%)                                            49.00

179        Percentage of TANF Participants in Job

180             Training Who Enter Employment (%)                              30.00

181        Percentage of TANF Participants in Job

182             Training Who Enter Employment at a

183             Salary Sufficient to be Ineligible for

184             TANF (%)                                                       19.00

185        Percentage of TANF Participants in Job

186             Training Who Remain Employed for: One

187             Year After Leaving the Program                                 75.00

188        Percentage of TANF Participants in Job

189             Training Who Remain Employed for: Five

190             Years After Leaving the Program                                65.00

191   Social Services Block Grant

192        Total clients served by The Division of


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193             Family & Children's Services                                 75,611

194        Total clients served by Aging and Adult

195             Services                                                     21,178

196        Total clients served by The Division of

197             Youth Services                                               12,880

198   Youth Services

199        Number of children served in DYS

200             Community Services                                           12,500

201        Institutional Component (Children Served)                             300

202        Number of volunteers in DYS Community

203             Services/Institution                                             100

204        Children Placed in Alternative Placement                             0.00

205        Percentage of children diverted from DYS

206             institutional care through problem

207             resolution at the local level                                  85.00

208        Recidivism rate will be reduced                                     20.00

209        A reporting of the degree to which the performance targets

210   set above have been or are being achieved shall be provided in the

211   agency's budget request submitted to the Joint Legislative Budget

212   Committee for Fiscal Year 2021.

213        SECTION 11.   It is the intent of the Legislature that the

214   Department of Human Services, Division of Child Support

215   Enforcement, make a concentrated effort to increase collections of

216   past due child support payments.     On or before January 1, 2020,

217   the Executive Director of the Department of Human Services shall


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218   submit a report to the Legislative Budget Office detailing

219   year-to-date performance measures in the Child Support Enforcement

220   Program compared with the prior year.

221        SECTION 12.    It is the intention of the Legislature that the

222   Department of Human Services shall have the authority to spend

223   such additional funds as it shall receive from the federal

224   government in incentives or the federal match on those incentives

225   for the purpose of child support enforcement.

226        SECTION 13.    Of the funds appropriated in Section 1, Two

227   Hundred Fifty Thousand Dollars ($250,000.00) shall be transferred

228   to the Juvenile Facility Monitoring Unit at the Department of

229   Public Safety no later than July 31, 2019.

230        SECTION 14.    Of the funds appropriated herein, to the

231   Department of Human Services One Million Dollars ($1,000,000.00),

232   is provided for the support of the Home Delivered Meals Program

233   and any additional funds that may be appropriated to this program.

234        SECTION 15.   Of the funds provided in Section 1, herein to

235   the Department of Human Services, an amount not to exceed One

236   Hundred Thousand Dollars ($100,000.00) is provided to fund the

237   Senior Olympics Program.

238        SECTION 16.   Of the funds appropriated in Section 1, herein

239   to the Department of Child Protection Services, it is the

240   intention of the Legislature that Ninety-three Thousand Six

241   Hundred One Dollars ($93,601.00) shall be allocated to the




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242   Mississippi Children's Trust Fund supported from General Fund

243   court assessments.

244        SECTION 17.     It is the intention of the Legislature that the

245   Governor's Office, Division of Medicaid and the Department of

246   Human Services shall continue to work together to implement HB

247   1090 of the 2017 Regular Session, known as the "Medicaid and Human

248   Services Transparency and Fraud Prevention Act".

249        SECTION 18.     Of the funds appropriated in Section 2, the

250   following sum, or so much necessary, is hereby appropriated out of

251   any money in the State Treasury to the credit of the Capital

252   Expense Fund, and allocated in a manner as determined by the

253   Treasurer's Office, to defray the expenses of the Department of

254   Child Protection Services for information technology system

255   developments and other critical agency operations for the fiscal

256   year beginning July 1, 2019, and ending June 30, 2020

257                                                                               15,157,835.00

258        SECTION 19. Of the funds appropriated in Section 1,                          and

259   contingent upon the passage of House Bill No. 571, Regular Session

260   2019, $250,000.00 is provided for establishing a 24 hour hotline

261   that is to be manned at all times, and for a coordinator to work

262   with the Department of Public Safety, and to contract with outside

263   agencies or services providers to organize for the provision of

264   specialized services, including counseling services and other

265   appropriate care to children who have been victims of commercial

266   and sexual exploitation or human trafficking.


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267        SECTION 20.    The money herein appropriated shall be paid by

268   the State Treasurer out of any money in the State Treasury to the

269   credit of the proper fund or funds as set forth in this act, upon

270   warrants issued by the State Fiscal Officer; and the State Fiscal

271   Officer shall issue his warrants upon requisitions signed by the

272   proper person, officer or officers, in the manner provided by law.

273        SECTION 21.    This act shall take effect and be in force from

274   and after July 1, 2019.




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